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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       No. 1:15-CR-00187-DAD-BAM-3
12                       Plaintiff,
13            v.                                     ORDER DISMISSING INDICTMENT
14   OSCAR ALONSO GALVEZ-RAMIREZ,
15                       Defendants.
16

17            The government’s motion to dismiss indictment (Doc. 37) with respect to defendant Oscar

18   Alonso Galvez-Ramirez filed February 17, 2016, is granted. The indictment in the above-entitled

19   case is dismissed without prejudice as to defendant Oscar Alonso Galvez-Ramirez only.

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     IT IS SO ORDERED.
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22   Dated:        February 18, 2016
                                                         UNITED STATES DISTRICT JUDGE
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